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“District Court of the United States”

District of Alaska APR LY 2019
Anchorage, Alaska CLERK, U.S. DISTRICT COURT
“David Gary Gladden” ANCHORAGE, A.K.

P.O. Box 877109
Wasilla, Alaska [99687]

David Gary Gladden, in propria persona
Plaintiff

CHRISTINA L. REIGH, in her personal and

)
)
)
Versus ) Case: Bia-cve GOCAG-MMUS
)
)
Presumed Official Capacity )

I. Complaint and the Nature of Quo Warranto

Comes now “David Gary Gladden” (“Gladden”), in propria persona with this
Compliant against “CHRISTINA L. REIGH” (“REIGH”) in her personal and
Presumed Official Capacity for proceeding against Gladden after Gladden had given
REIGH “actual notice” that she was proceeding with a “clear absence of all
jurisdiction”! in the Case: 3DI-18-00002CI in Dillingham, Alaska under the “State Bar
Bylaws, Art. I § 6 Administrative Districts (3)“Third Judicial District” instead of the
constitutional Venue of the “Third District” as established by the Legislature of the
State of Alaska in 1959; and further, for REIGH proceeding against Gladden after

Gladden had given REIGH “actual notice” with a “clear absence of all jurisdiction” in

 

' Stump v. Sparkman, 435 U.S. 349, 349, 356-357 (1978) “Held: ... (a) A judge will not
be deprived of immunity because the action he took was in error, was done maliciously,
or was in excess of his authority, but rather he will be subject to liability only when he
has acted in the "clear absence of all jurisdiction," Bradley v. Fisher, 13 Wall. 335, 351,
20 L.Ed. 646. Pp. 1104-1105 (1871),”

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Alaska Bar Administrative Court being “IN THE SUPERIOR COURT FOR THE
STATE OF ALASKA” instead of the constitutional “Superior Court of the State of

Alaska” established by the Legislature of the State of Alaska in 1959.

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A. Brief Overview.

1. This Complaint and the Nature of a Quo Warranto (“Complaint”) has many
Attachments, definitions and Case citations that are essential elements to this Complaint
due to the duplicity of Constitutional jurisdiction of “District Court of the United
States” arising under Article III Sections 1 and 2 exercising the “judicial Power of the
United States” versus the “United States District Court” exercising on the “judicial
power of a district court... by a single judge” codified in 28 U.S.C. § 132; and further,

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REIGH is operating ultra vires and in “clear absence of all jurisdiction”* exercising any

‘judicial Power” of any of the several States and by the actions of REIGH.

 

* Stump v. Sparkman, 435 U.S. 349, 349, 356-357 (1978) “Held: ... (a) A judge will not

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2. And further, due to the CON of the people of Alaska including REIGH that
has absolutely not one scintilla of authority, duty or relationship in any capacity to Alaska
as one of the several States to exercise any “judicial Power of Alaska.”

3. And further, REIGH is merely an “employee of the STATE OF ALASKA”
with the definition of “State” being as codified in 52 U.S.C. § 20502 (4) “the term “State”
means a State of the United States and the District of Columbia.”

4. And further, REIGH has not one scintilla of authority, duty or relationship in
any capacity as a “public Office of the State of Alaska” with Alaska being one of the
several States.

5. And further, REIGH is one hundred per cent only beholding to the Alaska Bar
Association within the Alaska Bar “Administrative Districts”.

6. And further, there extremely important essential elements as to Gladden’s
status and allegiance arising under the Constitution of the United States and the essential
element being that there are no Elections for any public Officers of the State of Alaska,
with Alaska being one of the several States as Alaska has Elections ONLY clothed with
the National Voter Registration Act of 1993 (107 Stat. 77-109).

7. And further, many of the essential term definitions are included to eliminate the
CON, to pinpoint the exclusive new term definitions with accuracy of this Complaint, for

judicial efficiency and conserve judicial resources.

 

be deprived of immunity because the action he took was in error, was done maliciously,
or was in excess of his authority, but rather he will be subject to liability only when he
has acted in the "clear absence of all jurisdiction," Bradley v. Fisher, 13 Wall. 335, 351,
20 L.Ed. 646. Pp. 1104-1105 (1871),”

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II. Initial Jurisdictional Statement

1. Jurisdiction arises under Article III Sections 1 and 2 in the “District Court of
the United States” exercising the “judicial Power of the United States” and not in an
“United States District Court” that is “exercising the judicial power of a district court...
by a single judge” as codified in 28 U.S.C. § 132(c).

2. Jurisdiction is under 42 U.S.C. § 1983 for a “clear absence of all jurisdiction”
for a total denial of “Due Process of Law” in an administrative district of the Alaska Bar
Association for being the “Third Judicial District” and not in the “Third District” of the
constitutional court of Alaska.

3. Jurisdiction is under 42 U.S.C. § 1983 for a “clear absence of all jurisdiction”
for a total denial of “Due Process of Law” by using a Alaska Bar Administration court
(sic) styles “IN THE SUPERIOR COURT FOR THE STATE OF ALASKA?” instead of
the “Superior Court of the State of Alaska established by the Legislature of the State of
Alaska in 1959.

4. Jurisdiction arises under 28 U.S.C. § 1331 for a constitutional bona fide
“District Court of the United States;” and, the “Constitution of the United States;” and,
the “Laws of the United States.”

Ill. Jurisdictional Definitions

1. These term definitions with means, unambiguous statues and Cases in Support

precedents are presented forthwith for this Complaint, infra.

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A. Public Officer Versus Mere Employees
1. In the adjudged decision of State v. Hawkins, 257 P. 411, 413-418 (Sup. Ct.

Mont. 1927) is an exhaustive examination of the essential elements to be a “public
Officer” of a civil nature in any of the several States and the requirements pertaining to
the creation of an “Office” in any of the several States based upon the holdings of many
decisions of numerous courts of the several States which are omitted for brevity, but are
relied upon, and this holding is ibid at 418, to wit:

After an exhaustive examination of the authorities, we hold that five
elements are indispensable in any position of public employment, in order
to make it a public office of a civil nature: (1) It must be created by the
Constitution or by the Legislature or created by a municipality or other
body through authority conferred by the Legislature; (2) it must possess a
delegation of a portion of the sovereign power of government, to be
exercised for the benefit of the public; (3) the powers conferred, and the
duties to be discharged, must be defined, directly or impliedly, by the
Legislature or through legislative authority; (4) the duties must be
performed independently and without control of a superior power,
other than the law, unless they be those of an inferior or subordinate
office, created or authorized by the Legislature, and by it placed under the
general control of a superior officer or body; (5) it must have some
permanency and continuity, and not be only temporary or occasional. In
addition, in this state, an officer must take and file an official oath, hold
a commission or other written authority, and give an official bond, if
the latter be required by proper authority. [Emphasis added]

2. This Court may not presume the existence that any of the Defendants are in fact
either judicial Officers of the several States or executive Officers of the several States,
ibid at 414, “... we may not presume he is an officer; it must be shown. * * * It
must appear in the record” (citations omitted).

3. Another extensively researched case on “public Officer” and the requirement of

the creation of an “Office” is State v. Cole, 148 P. 551, 552 et seq. (Sup. Ct. Nev. 1915)

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which is based upon the holdings of many decisions of numerous courts of the several
States which are omitted for brevity, but are relied upon, held ibid at 552 an Office can’t
spring into existence, but must be created, to wit:

An office does not spring into existence spontaneously. It is brought into

existence, either under the terms of the Constitution, by legislative enactment,

or by some municipal body, pursuant to authority delegated to it. “All public
offices must originally have been created by the sovereign as the foundation of
government.”

4. In the adjudged decision in Hawkins, supra. at 415 citing the holding of State v.
Spaulding, 72 N.W. 288, 291 (Sup. Ct. lowa 1897), the distinction of a “position”, i.e.
mere employee is explicated from an [public] officer, to wit:

“A position, the duties of which * * * can be changed at the will of the

superior, * * * is not an office, but a mere employment, and the incumbent

is not an officer, but a mere employee.” [Emphasis added]

5. And further, in the adjudged decision of Hawkins, supra., at 417 explicating
when a “position” is created not by force of law, but by a contract of employment, it isn’t
an “office”, “When a position is created, not by force of law but by contract of
employment, the employment does not rise to the dignity of an office.”

6. A “public Officer” as distinguished from an “employee” must be invested by
law with a portion of the state’s sovereignty for the public benefit largely independent of
the control of others and authorized to exercise functions either of executive, legislative,
or judicial character. See State Ex rel. Newman y. Skinner, 191 N.E. 127, 128 (Sup. Ct.
Ohio 1934); City of Groves v. Ponder, 303 S.W. 485, 488 (Tex. Civ. App. 1957); State
ex rel. Milburn v. Pethtel, 90 N.E.2d 686, 689 (Sup. Ct. Ohio 1950); Dunbar v. Brazoria

County, 224 S.W.2d 738, 740 (Tex. Civ. App. 1949); Application of Barber, 100

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N.Y:.S.2d 668, 670 (Sup. Ct. Albany County, N.Y. 1951); Francis v. lowa, 98 N.W.2d
733, 735, 736 (Sup. Ct. Iowa); State ex rel. Dunn v. Ayers, 113 P.2d 785, 787 (Sup. Ct.
Mont. 1941).
B. Means

1. In Verbie v. Morgan Stanley Smith Barney, LLC, 148 F.Supp.3d 644, 651
(E.D.Tenn. 2015) “See 15 U.S.C. § 78u-6(a) (noting that the definition “shall apply”
throughout the section); see also Burgess v. United States, 553 U.S. 124, 131 n. 3 (2008)
(describing a definition that uses the term “means” as exclusive and a definition that
uses that term “includes” as nonexclusive).” * * * @ 656 “This conclusion is fortified by
the fact that when an exclusive definition is intended the word ‘means' is employed”.
In Burgess v. United States, 553 U.S. 124, 131 n. 3 (2008) ““[T]he word ‘includes' is
usually a term of enlargement, and not of limitation.” 2A Singer § 47:7, p. 305 (some
internal quotation marks omitted). Thus “[a] term whose statutory definition declares
what it ‘includes' is more susceptible to extension of meaning ... than where”—as in §
802(44)—“‘the definition declares what a term ‘means.’ ” Jbid. See also Groman v.
Commissioner, 302 U.S. 82, 86 (1937) “[W]hen an exclusive definition is intended the
word ‘means' is employed, ... whereas here the word used is ‘includes.”

2. In Groman y. Commissioner, 302 U.S. 82, 86 (1937) “This conclusion is
fortified by the fact that when an exclusive definition is intended the word ‘means' is
employed.” See also Jn re Barnet, 737 F.3d 238, 248 (2"4 Cir. 2013); Verbie v. Morgan

Stanley Smith Barney, LLC, 148 F.Supp.3d 644, 653 (E.D.Tenn. 2015).

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3. In United States Navy-Marine Corps Court of Military Review v. Cheney, 29
M.J. 98, 103 (C.M.A. 1989) “Where Congress intended a more exclusive definition, it
used the word “means,.”” In State v. Begay, 225 P.3d 108, 111 (App.Ct.Ore. 2010). In
Berman v. Neo@ Ogilvy LLC, 801 F.3d 145, 156 (2" Cir. 2015) see also United States v.
DiCristina, 726 F.3d 92, 99 (2d Cir.2013) (quoting Groman v. Commissioner, 302 U.S.
82, 86 (1937) (“When an exclusive definition is intended the words means is
employed.”)). See also Conn. Nat'l Bank v. Germain, 503 U.S. 249, 253-54, (1992)
(“We have stated time and again that courts must presume that a legislature says in a
statute what it means and means in a statute what it says there.”) * * * “CWyhen an
exclusive definition is intended the word ‘means’ is employed....’’)”

4. In Haeger Potteries v. Gilner Potteries, 123 F.Supp. 261, 267-268 (S.D.Cal.
1954) “Use of the phrase ‘shall mean and include’ indicates that the statutory definition
was not intended to be restrictive or exclusive. Athens Lodge No. 70 v. Wilson, 1953, 117
Cal.App.2d 322, 255 P.2d 482.”

5. In Stenberg v. Carhart, 530 U.S. 914, 942 (2000), to wit:

When _ a statute includes an explicit definition, we must follow that

definition, even if it varies from that term’s ordinary meaning. Meese v.

Keene, 481 U.S. 465, 484-485, 107 S.Ct. 1862, 95 L.Ed.2d 415 (1987) (“It

is axiomatic that the statutory definition of the term excludes unstated

meanings of that term”); Colautti v. Franklin, 439 U.S., at 392-393, n. 10,

99 S.Ct. 675 (“As a rule, ‘a definition which declares what a term

“means” ... excludes any meaning that is not stated’ ”); Western Union

Telegraph Co. v. Lenroot, 323 U.S. 490, 502, 65 S.Ct. 335, 89 L.Ed. 414

(1945); Fox v. Standard Oil Co. of N. J., 294 U.S. 87, 95-96, 55 S.Ct. 333,
79 L.Ed. 780 (1935) (Cardozo, J.)

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6. See also Burgess v. United States, 553 U.S. 124, 130 (2008) citing Colautti,
ibid; McNamara v. Nomeco Bldg. Specialties, Inc., 26 F.Supp.2d 1168, 1174 (D.Minn.
1998) “In ascertaining the Intent of Congress from a plain reading of a statute, it is

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fundamental that a statute should be interpreted so as not to render one part
inoperative.’ ” Mountain States Tel & Tel. Co. v. Pueblo of Santa Ana, 472 U.S. 237,
249, (1985), quoting Colautti v. Franklin, 439 U.S. 379, 392 (1979).

7. In Colautti v. Franklin, 439 U.S. 392 n10 (1979) “As a rule, ‘a definition
which declares what a term “means”. .. excludes any meaning that is not stated’.”

8. In Western Union Telegraph Co. y. Lenroot, 323 U.S. 490, 502, (1945) “Of
course statutory definitions of terms used therein prevail over colloquial meanings.”

9. In Fox v. Standard Oil Co. of New Jersey, 294 U.S. 87, 95 (1935) “In such
circumstances definition by the average man or even by the ordinary dictionary with its
studies enumeration of subtle shades of meanings is not a substitute for the definition set
before us by the law makers with instructions to apply it to the exclusion of all others.”
In Price vy. Commissioner of Revenue, 1989 WL 158198, *3 (Minn.Tax Ct. 1989)
“Moreover, where a statutory definition begins by stating what a defined term “means”
rather than “includes,” the definition excludes any meaning not specifically

stated. Colautti v. Franklin, 439 U.S. 379, n. 10, (1979); Meese v. Keene, 481 US. 465,

(1987).”

C. Unambiguous Statues
a. Supreme Court of the United States.

1. In Jimenez v. Quarterman, 555 U.S. 113, 113 (2009) it held “This Court must

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enforce plain statutory language according to its terms. See, e.g., Larmie V. United
States Trustee, 540 U.S. 526, 534 (2004), ibid @ 118, “It is well established that, when
the statutory language is plain, we must enforce it according to its terms. See, e.g.,
Dodd v. United States, 545 U.S. 353, 359, 125 (2005); Lamie, supra, at 534, 124 S.Ct.
1023; Hartford Underwriters Ins. Co. v. Union Planters Bank, N. A., 530 U.S. 1, 6,
(2000); Caminetti v. United States, 242 U.S. 470, 485, (1917).”

2. In Wyeth v. Levine, 555 U.S. 555, 600 (2009) “This Court has repeatedly stated
that when statutory language is plain, it must be enforced according to its terms.
See Jimenez v. Quarterman, 555 U.S. 113, (2009); see also,e.g.,Dodd v. United
States, 545 U.S. 353, 359, (2005); Lamie v. United States Trustee, 540 U.S. 526, 534,
(2004); Hartford Underwriters Ins. Co. v. Union Planters Bank, N. A., 530 U.S. 1, 6,
(2000).

3. In United States v. Ron Pair Enterprises, Inc., 489 U.S. 235, 240,241 (1989)
“Rather, as long as the statutory scheme is coherent and consistent, there generally is
no need for a court to inquire beyond the plain language of the statute.”

4. In Howe v. Smith, 452 U.S. 473, 480 (1981) “As in every case involving the
interpretation of a statute, analysis must begin with the language employed by
Congress. Rubin v. United States, 449 U.S. 424, 430, 101 S.Ct. 698, 702, 66 L.Ed.2d
633 (1981); Reiter v. Sonotone Corp., 442 U.S. 330, 337, 99 S.Ct. 2326, 2330, 60
L.Ed.2d 931 (1979).”

It was held in Rubin v. United States, 449 U.S. 424, 430 (1981), to wit:

When we find the terms of a statute unambiguous, judicial inquiry is
complete, except “in ‘rare and exceptional circumstances.’ ” TVA v.

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Hill, 437 U.S. 153, 187, n. 33, 98 S.Ct. 2279, 2298, n. 33, 57 L.Ed.2d 117
(1978) (quoting Crooks v. Harrelson, 282 U.S. 55, 60, 51 S.Ct. 49, 50, 75
L.Ed. 156 (1930)).. Accord, Aaron v. SEC, 446 U.S. 680, 695, 100 S.Ct.
1945, 1955, 64 L.Ed.2d 611 (1980); Ernst & Ernst v. Hochfelder, supra, at
214, n. 33, 96 S.Ct., at 1391 n. 33.

5. See CSX Transp., Inc. v. Georgia State Bd. Of Equalization, 552 U.S. 9, 20
(2007); Connecticut Nat. Bank v. Germain, 503 U.S. 249, 254 (1992); King v. St.
Vincent’s Hosp., 502 U.S. 215, 222 N14 (1991); Adams Fruit Co., Inc. v. Barrett, 494
U.S. 638, 643 (1990); Crandon v. United States, 494 U.S. 152, 168 (1990); United Ass’n
of Journeymen & Apprentices of Plumbing and Pipefitting Industry of U.S. & Canada
AFL-CIO, et al., v. Local 334, United Ass’n of Journeymen and Apprentices of the
Plumbing & Pipefitting Industry of the United States and Canada, et al., 452 U.S. 615,
628 (1981); United States v. Clintwood Elkhorn Min. Co., 553 U.S. 1, 11 (2008); Desert
Palace, Inc. v. Costa, 5239 U.S. 90, 98 (2003); Demarest v. Manspeaker, 498 U.S. 184,

190 (1991).

b._ Congressional Intent.
1. In Ardestani v. I.N.S., 502 U.S. 129, 135, 136 (1991), to wit:

The “strong presumption” that the plain language of the statute
expresses congressional intent is rebutted only in “rare and exceptional
circumstances,” Rubin v. United States, 449 U.S. 424, 430, 101 S.Ct. 698,
701, 66 L.Ed.2d 633 (1981), when a contrary legislative intent is clearly
expressed. INS y. Cardoza-Fonseca, 480 U.S. 421, 432, n. 12, 107 S.Ct.
1207, 1213, n. 12, 94 L.Ed.2d 434 (1987); Consumer Product Safety
Comm'n v. GTE Sylvania, Inc., 447 U.S. 102, 108, 100 S.Ct. 2051, 2056, 64
L.Ed.2d 766 (1980). In this case, the legislative history cannot overcome
the strong presumption “ ‘that the legislative purpose is expressed by the
ordinary meaning of the words used.’ ” American Tobacco Co. v.
Patterson, 456 U.S. 63, 68, 102 S.Ct. 1534, 1537, 71 L.Ed.2d 748
(1982)(quoting Richards v. United States, 369 U.S. 1, 9, 82 S.Ct. 585, 591,
7 L.Ed.2d 492 (1962)).

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2. In Burlington Northern R. Co. v. Oklahoma Tax Com’n, 481 U.S. 454, 461

(1987), to wit:

Legislative history can be a legitimate guide to a statutory purpose
obscured by ambiguity, but “[iJn the absence of a ‘clearly expressed
legislative intention to the contrary,’ the language of the statute itself
‘must ordinarily be regarded as conclusive.’ ” United States v.
James, 478 U.S. 597, 606, 106 S.Ct. 3116, 3121, 92 L.Ed.2d 483
(1986) (quoting Consumer Product Safety Comm'n yv. GTE Sylvania,
Inc., 447 U.S. 102, 108, 100 S.Ct. 2051, 2056, 64 L.Ed.2d 766 (1980)).
Unless exceptional circumstances dictate otherwise, “[wJhen we find the
terms of a statute unambiguous, judicial inquiry is complete.” Rubin v.
United States, 449 U.S. 424, 430, 101 S.Ct. 698, 701, 66 L.Ed.2d 633
(1981).

3. In United States v. James, 478 U.S. 597, 606 (1986), to wit:

We have repeatedly recognized that “(w]hen... the terms of a statute
{are] unambiguous, judicial inquiry is complete, except ‘in “rare and
exceptional circumstances.” ’ ” Rubin v. United States, 449 U.S. 424, 430,
101 S.Ct. 698, 701, 66 L.Ed.2d 633 (1981) (citations omitted). In the
absence of a “clearly expressed legislative intention to the contrary,”
the language of the statute itself “must ordinarily be regarded as
conclusive.” Consumer Product Safety Comm’n v. GTE Sylvania, Inc., 447
U.S. 102, 108, 100 S.Ct. 2051, 2056, 64 L.Ed.2d 766 (1980).

c. Federal Rules of Civil Procedure.

1. In Pavelic & LeFlore v. Marvel Entertainment Group, 493 U.S. 120, 123
(1989), to wit:

We give the Federal Rules of Civil Procedure their plain
meaning, Walker v. Armco Steel Corp., 446 U.S. 740, 750, n. 9, 100 S.Ct.
1978, 1985 n. 9, 64 L.Ed.2d 659 (1980), and generally with them as with
a Statute, “[w]hen we find the terms ... unambiguous, judicial inquiry is
complete,” Rubin v. United States, 449 U.S. 424, 430, 101 S.Ct. 698, 701,
66 L.Ed.2d 633 (1981). The specific text of Rule 11 at issue here is the
provision that requires a court, when a paper is signed in violation of the
Rule, to “impose upon the person who signed it ... an appropriate
sanction.”

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d. 9 Circuit.
1. In Reeb v. Thomas, 636 F.3d 1224, 1226, 1227 (gth Cir. 2011), to wit:

In determining whether 18 U.S.C. § 3625 precludes judicial review under
the APA of individualized RDAP determinations, we first consider the
plain meaning of the statute's text. United States v. Nader, 542 F.3d 713,
717 (9th Cir.2008) (citing Jonah R. v. Carmona, 446 F.3d 1000, 1005 (9th
Cir.2006)). When the words of a statute are unambiguous “
‘judicial inquiry is complete.’ ” Conn. Nat'l Bank v. Germain,503 US.
249, 254, 112 S.Ct. 1146, 117 L.Ed.2d 391 (1992) (quoting Rubin v. United
States, 449 U.S. 424, 430, 101 S.Ct. 698, 66 L.Ed.2d 633 (1981)).

There is no ambiguity in the meaning of 18 U.S.C. § 3625. The plain
language of this statute specifies that the judicial review provisions of the
APA, 5 U.S.C. §§ 701-706, do not apply to “any determination, decision,
or order” made pursuant to 18 U.S.C. §§ 3621-3624.

2. In In re Price, 353 F.3d 1135, 1140, 1141 (9" Cir. 2004), to wit:

In construing a statute, “we begin with the understanding that
Congress ‘says in a statute what it means and means in a statute what
it says there.’ ” Hartford Underwriters Ins. Co. v. Union Planters Bank,
N.A., 530 U.S. 1, 6, 120 S.Ct. 1942, 147 L.Ed.2d 1 (2000) (quoting Conn.
Nat'l Bank v. Germain, 503 U.S. 249, 254, 112 S.Ct. 1146, 117 L.Ed.2d
391 (1992)). If the statutory language is unambiguous, then our “judicial
inquiry is complete.” Rubin v. United States, 449 U.S. 424, 430, 101 S.Ct.
698, 66 L.Ed.2d 633 (1981).

e. Federal Circuit.

3. In Wyeth v. Kappos, 591 F.3d 1364, 1369 (Fed.Cir. 2010), to wit:

“As always, the ‘starting point in every case involving construction of a
statute is the language itself.’ ” United States v. Hohri, 482 U.S. 64, 68,
107 S.Ct. 2246, 96 L.Ed.2d 51 (1987) (quotingKelly v. Robinson, 479 U.S.
36, 43, 107 S.Ct. 353, 93 L.Ed.2d 216 (1986)). When the terms of a
statute are unambiguous, “judicial inquiry is complete, except ‘in rare
and exceptional circumstances.’ ” Rubin v. United States, 449 U.S. 424,
430, 101 S.Ct. 698, 66 L.Ed.2d 633 (1981) (quoting TVA v. Hill, 437 USS.
153, 187 n. 33, 98 S.Ct. 2279, 57 L.Ed.2d 117 (1978)). “Absent a clearly
expressed legislative intention to the contrary, [the statute's plain]

language must ordinarily be regarded as conclusive.” Consumer Prod.
Safety Comm'n yv. GTE Sylvania, Inc., 447 U.S. 102, 108, 100 S.Ct. 2051,

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64 L.Ed.2d 766 (1980).

4. In Strategic Housing Finance Corp. of Travia County vy. United States, 608
F.3d 1317, 1324 (Fed. Cir. 2010) “““[W]Jhen the statutory language is plain, we must

enforce it according to its terms. Jimenez, 129 S.Ct. at 685.””

e. Inquiry Ceases if the Statutory Language is Unambiguous.
1. Supreme Court of the United States.

1. In Barnhart v. Sigmon Coal Co., Inc., 534 U.S. 438, 450 (2002), “The inquiry
ceases if the statutory language is unambiguous and the statutory scheme is coherent and
consistent” (Internal quotation marks omitted.”

Ibid. @ 461, 462 (2002), to wit:

Our role is to interpret the language of the statute enacted by
Congress. This statute does not contain conflicting provisions or
ambiguous language. Nor does it require a narrowing construction or
application of any other canon or interpretative tool. “We have stated time
and again that courts must presume that a legislature says in a statute
what it means and means in a statute what it says there. When the
words of a statute are unambiguous, then, this first canon is also the
last: ‘judicial inquiry is complete.’ ” Connecticut Nat. Bank v.
Germain, 503 U.S. 249, 253-254, 112 S.Ct. 1146, 117 L.Ed.2d 391
(1992) (quoting Rubin v. United States, 449 U.S. 424, 430, 101 S.Ct. 698,
66 L.Ed.2d 633 (1981)) (citations omitted). We will not alter the text in
order to satisfy the policy preferences of the Commissioner. These are
battles that should be fought among the political branches and the industry.
Those parties should not seek to amend the statute by appeal to the
Judicial Branch.

2. See also Millbrook v. United States, 133 S.Ct. 1441, 1446 (2013), to wit:

Jimenez v. Quarterman, 555 U.S. 113, 118, 129 S.Ct. 681, 172 L.Ed.2d 475
(2009) (“[W]hen the statutory language is plain, we must enforce it
according to its terms”); Barnhart v. Sigmon Coal Co., 534 U.S. 438, 450,
122 S.Ct. 941, 151 L.Ed.2d 908 (2002) (“The inquiry ceases if the
statutory language is unambiguous and the statutory scheme is
coherent and consistent” (internal quotation marks omitted)).

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2. 9 Circuit.

1. In Texaco Inc. v. United States, 528 F.3d 703, 707 (9" Cir. 2008), to wit:

The inquiry ceases if the statutory language is unambiguous and the
statutory scheme is coherent and consistent.” Barnhart v. Sigmon Coal
Co., 534 US. 438 (2002) Internal citation omitted. The Supreme Ccorut has
further noted that “[i]Jf a court, employing traditional tools of statutory
construction, ascertains that Congress had an intention on the precise
questions at issue, that the intention is the law and must be given
effect.” Chevron U.S.A. Inc. v. Natural Res. Def. Council, Inc., 467 U.S.
837, 843 n.9 (1984).

2. See also Pacific Maritime Ass’n vy. Local 63, Intern. Longshoremen’s
and Warehouseman’s Union, 198 F.3d 1078, 1081 (9 Cir. 1999).

3. In Golden West Refining Co. y. Suntrust Bank, 538 F.3d 1233, 1238 (9
Cir. 2008), to wit:

We must give effect to the language of a statute if it is plain and
unambiguous. See Texaco Inc. v. United States, 528 F.3d 703, 707 (9th
Cir.2008) (“ ‘The [interpretive] inquiry ceases if the statutory language is
unambiguous and the statutory scheme is coherent and consistent.’ ”
quoting Barnhart v. Sigmon Coal Co., Inc., 534 U.S. 438, 450, 122 S.Ct.
941, 151 L.Ed.2d 908 (2002)); Catholic Mut. Relief Soc’y v. Superior
Court, 42 Cal.4th 358, 369, 64 Cal.Rptr.3d 434, 165 P.3d 154 (2007) ( “If
the language of a statute is clear and unambiguous there is no need for
construction, nor is it necessary to resort to indicia of the intent of the
Legislature.” (internal quotation marks, alteration, and citation omitted));
Marsh v. City of Richmond, 234 Va. 4, 11, 360 S.E.2d 163 (1987) (If
statutory language is not ambiguous but has a usual and plain
meaning, rules of construction do not apply and resort to legislative
history is both unnecessary and improper. Instead, we determine
legislative intent from the plain meaning of the words used.”).

3. Federal Circuit.

1. In Transcrpital Leasing Associates, 1990-II, L.P. v. United States, 398 F.3d
1317, 1320, 1321 (Fed.Cir. 2005) “The inquiry ceases if

the statutory language is unambiguous and the statutory scheme is coherent and

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consistent.” Barnhart v. Sigmon Coal Co., 534 U.S. 438, 450, 122 S.Ct. 941, 151 L.Ed.2d

908 (2002) (internal citations and quotations omitted).”

D._ Legislative History
1. In Blum v. Stenson, 465 U.S. 886, 896 (1984) “Where, as here, resolution of a

question of federal law turns on a statute and the intention of Congress, we look first to
the statutory language and then to the legislative history if the statutory language is
unclear.” See also Toibb v. Radloff, 501 U.S. 157, 162 (1991): Public Employees
Retirement system of Ohio v. Betts, 492 U.S. 158, 185 (1989); Oklahoma v. New Mexico,
501 U.S. 221, 234 FN5 (1991).

1. In Heinzelman vy. Secretary of Health and Human Services, 98 Fed.Cl. 808, 816
(2011), to wit:

Statutory interpretation begins with the plain meaning of the language
of the statute. St. Paul Fire & Marine Ins. Co. v. Barry, 438 U.S. 531, 547,
98 S.Ct. 2923, 57 L.Ed.2d 932 (1978) (“The starting point in any case
involving construction of a statute is the language itself.”). If “the
language is clear and fits the case, the plain meaning of the statute will
be regarded as conclusive.” Norfolk Dredging Co. v. United States, 375
F.3d 1106, 1110 (Fed.Cir.2004). “When the language of the statute is not
clear, canons of construction may be used to determine the meaning of
the statute, if possible.” Cherokee Nation of Okla. v. United States, 73
Fed.Cl. 467, 476 (2006). One such fundamental canon of statutory
construction is that “the words of a statute must be read in their context
and with a view to their place in the overall statutory scheme.” Davis v.
Mich. Dep’t of Treasury, 489 U.S. 803, 809, 109 S.Ct. 1500, 103 L.Ed.2d
891 (1989). Additionally, if the statutory language is unclear, the Court
will look to the legislative history of the statute. See, e.g., Blum v.
Stenson, 465 U.S. 886, 896, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984); Allen
v. Principi, 237 F.3d 1368, 1375 (Fed.Cir.2001).

2. See also Adams v. United States, 65 Fed.Cl. 217, 225 (U.S.Fed.Cl. 2005).

3. In Zavislak v. United States, 29 Fed.Cl. 525, 528-529, (U.S.Fed.Cl.1993), to

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wit:

Indeed, if a statute is clear and unambiguous on its face, “that is the end
of the matter, for the court, as well as the agency, must give effect to
the unambiguously expressed intent of Congress.” Sullivan v. Stroop,
496 US. 478, 480, 110 S.Ct. 2499, 2502, 110 L.Ed.2d 438 (1990) (quoting
K-Mart Corp. v. Cartier, Inc., 486 U.S. 281, 108 S.Ct. 1811, 100 L.Ed.2d
313 (1988)); see, e.g., Consumer Prod. Safety Comm’n v. GTE Sylvania,
Inc., 447 U.S. 102, 108, 100 S.Ct. 2051, 2056, 64 L.Ed.2d 766 (1980);
Darsigny v. Office of Personnel Management, 787 F.2d 1555, 1557
(Fed.Cir.1986). However, when a statute can be read in more than one way,
or when a statute is ambiguous on its face, courts will resort to the
legislative history to provide a meaning consistent with what Congress
intended. Patterson v. Shumate, 504 U.S. 753, 761, 112 S.Ct. 2242, 2248,
119 L.Ed.2d 519 (1992) (“courts appropriately may refer to a statute’s
legislative history to resolve statutory ambiguity”); Toibb v. Radloff, 501
U.S. 157, ——, 111 S.Ct. 2197, 2200, 115 L.Ed.2d 145 (1991) (“we first
look to the statutory language and then to the legislative history if the
statutory language is unclear’); Blum v. Stenson, 465 U.S. 886, 104 S.Ct.
1541, 79 L.Ed.2d 891 (1984).

4, In Osage Tribe of Indians of Oklahoma v. United States, 68 Fed.Cl. 322
(U.S.Fed.Cl. 2005), to wit:

It is a cardinal rule of statutory construction that “no clause, sentence, or
word shall be superfluous, void, or insignificant.” TRW Inc. v. Andrews,
534 U.S. 19, 31, 122 S.Ct. 441, 151 L.Ed.2d 339 (2001) (quoting Duncan v.
Walker, 533 U.S. 167, 174, 121 S.Ct. 2120, 150 L.Ed.2d 251 (2001));
United States v. Menasche, 348 U.S. 528, 538-39, 75 S.Ct. 513, 99 L.Ed.
615 (1955) ( “It is our duty to give effect, if possible, to every clause and
word of a statute ....”’) (internal citations omitted); James v. Santella, 328
F.3d 1374, 1381 (Fed.Cir.2003) (acknowledging “the general rule against
construing a statute in a way that renders one of its parts inoperative’);
2A Sutherland: Statutes and Statutory Construction § 46:06 (Norman J.
Singer ed., 6th ed.2000).

5. In Schwegmann Bros, et al. v. Calvert Distillers Corp, 341 U.S. 384, 395
(1951), “Resort to legislative history is only justified where the face of the Act is

inescapably ambiguous, and then I think we should not go beyond Committee reports,

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which presumably are well considered and carefully prepared.”
E. Reviser’s Notes

1. It is well settled that the reviser’s notes are authoritative in interpreting the
Code. See United States v. National City Lines, 337 U.S. 78, 81 (1949); Stainback v. Mo
Hock Ke Lok Po, 336 U.S. 368 n. 12 (1949); Aberdeen & Rockfish R. Co. v. Students
Challenging Regulatory Agency, 422 U.S. 289, 309 (1975); Western Pac. R. Corp. v.
Western Pac. R. Co., 345 U.S. 247, 254-255 (1953); Pope v. Atlantic Coast Line R.Co.,
345 U.S. 379, 384 (1953); Tivoli Realty v. Paramount Pictures, 80 F.Supp. 278, 280 (D.
Del. 1950); United States v. Thompson, 319 F.2d 665, 669 (1963) (2"™ Cir. 1963); United
| States ex rel. Almeida, 195 F.2d 815 (3 Cir. 1952); Adamowski v. Bard, 193 F.2d 578,
581 (3% Cir. 1952); United States ex rel. Auld v. Warden of New Jersey State
Penitentiary, 187 F.2d 615 n. 1 (3" Cir. 1951); Lake v. New York Life Ins. Co., 218 F.2d
394, 398 (4" Cir. 1955); Government Nat. Mortg. Ass/n v. Terry, 608 F.2d 614, 618 n. 5
(5" Cir. 1979); Acron Investments, Inc. v. Federal Sav. & Loan Ins. Corp., 363 F.2d 236,
240 (9" Cir. 1966); Ragsdale v. Price, 185 F.Supp. 263, 265 (M.D. Tenn. 1960); Wham-
O-Mfg. Co. v. Paradise Mfg. Co., 327 F.2d 748, 752 (9 Cir. 1964); Stauffer et al. v.
Exley, 184 F.2d 962, 964 (9 Cir. 1950); King v. United States, 390 F.2d 894, 913
(Ct.Cl. 1968) [28 U.S.C. 2201-02]; Matter of Contest of General election on Nov. 8,
1977, 264 N.W.2d 401, 405-405 (Sup. Ct. Minn. 1978); United States v. Klock, 100
F.Supp. 230, 233 (N.D. N.Y. 1951); State ex rel. v. Shoemaker, 39 N.W.2d 524, 528

(Sup. Ct. S.D. 1949); Glenn v. United States, 129 F.Supp. 914, 917 (S.D. Cal. 1955).

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F. Actual Notice

1. Gladden did give Actual Notice including the following to REIGH multiple
times and did demand REIGH?’s Oath of Office as a public Officer;

2. And, Gladden demanded REIGH’s Civil Commission of being appointed by
the Governor of Alaska mandated by Article IV Section 5 and ©AS 39.05.035?;

3. And, Gladden demanded REIGH’s Authority for the “Third Judicial
District,’ wherein Gladden only filed into the “Third District” which REIGH ignored;

4. And, Gladden demanded REIGH’s authority to filed Orders and Judgments
only in the “Third Judicial District;” and, Gladden demanded Authority for REIGH to
issue Orders only in “IN THE SUPERIOR COURT FOR THE STATE OF
ALASKA” when initially and constitutional Courts of Alaska which Gladden filed being
the “Superior Court of Alaska.”

5. In Jay E. Hayden Foundation, et al., v. First Neighbor Bank, N.A.,610 F.3d
382, 385 (7" Cir. 2010), to wit:

A defendant who prevents a plaintiff from obtaining information that

he needs in order to be able to file a complaint that will withstand

dismissal is forbidden, under the rubric of equitable estoppel, to plead .

the statute of limitations for the period in which the inquiry was

thwarted. Beckel y. Wal-Mart Associates, Inc., 301 F.3d 621, 622 (7th

Cir.2002); Cada v. Baxter Healthcare Corp., 920 F.2d 446, 450-52 (7th

Cir.1990); see also Rotella v. Wood, supra, 528 U.S. at 561, 120 S.Ct.
1075.

 

3 © AS Sec. 39.05.035 Commission of office. After each appointment of a state officer,
the governor shall execute a commission, which states that the person to whom it is
issued is appointed and sets out the office to and the term for which the officer is
appointed. The attorney general shall prescribe the form of the commission. (8 11-1-5
ACLA 1949) Revisor's notes. -- Formerly AS 39.05.120. Renumbered in 1984.

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6. In Beckel v. Wal-Mart Associates, Inc., 301 F.3d 621, 622 (7 Cir. 2002), to

wit:

The doctrine of equitable estoppel, when invoked as a defense to the statute
of limitations, requires the plaintiff to show that the defendant took steps
deliberately to prevent the plaintiff from bringing a timely suit, whether by
concealing the existence of the plaintiff's claim or by promising not to
plead the statute of limitations. Glus v. Brooklyn Eastern District
Terminal, 359 U.S. 231, 235, 79 S.Ct. 760, 3 L.Ed.2d 770 (1959); Hedrich
v. Board of Regents, 274 F.3d 1174, 1182 (7th Cir.2001); Cada v. Baxter
Healthcare Corp., 920 F.2d 446, 450-52 (7th Cir.1990); Smith-Haynie v.
District of Columbia, 155 F.3d 575, 580-81 (D.C.Cir.1998).

7. In Groseth v. Ness, 421 P.2d 624, 630 (Sup.Ct.Ak. 1966), to wit:

Both federal and state authorities have established that the doctrine of
equitable estoppel is available as a bar to inequitable reliance upon statutes
of limitations. FN16. In Glus v. Brooklyn E. Dist. Terminal, FN17, the
Supreme Court of the United States characterized this doctrine of estoppel
in the following manner:

As Mr. Justice Miller expressed it * * * ‘The principle is that where one
party has by his representations or his conduct induced the other party to a
transaction to give him an advantage which it would be against equity and
good conscience for him to assert, he would not in a court of justice be
permitted to avail himself of that advantage. And although the cases to
which this principle is to be applied are not as well defined as could be
wished, the general doctrine is well understood and is applied by courts of
law as well as equity where the technical advantage thus obtained is set up
and relied on to defeat the ends of justice or establish a dishonest claim.’
FN18.
FN16. See Annot., 3 L.Ed.2d 1886-1887 (1959), where federal
precedents giving recognition to the doctrine of equitable estoppel as
a bar to reliance upon statutes of limitations are collected. In Annot.,
24 A.L.R.2d 1413 (1952), at 1417-18, state authorities are collected.
See also Demmert v. City of Klawock, 199 F.2d 32, 34 (9th Cir.
1952), for an instance of pre-statehood recognition of this doctrine.
FN17.Glus v. Brooklyn E. Dist. Terminal, 359 U.S. 231 (1959).
FN18. See also the concurring opinion of Judge Magruder
in Bergeron v. Mansour, 152 F.2d 27, 33 (1st Cir. 1945).

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8, In SD3 II LLC v. Black & Decker (U.S.) Incorporated, 888 F.3d 98, 108-109,
112 115-116 (4" Cir. 2018), to wit:

Actual notice is a straightforward concept to which we have long applied
the standard that the plaintiff knew the “ ‘fraudulently concealed facts,
which are the basis of a claim.’ ” Go Comput., 508 F.3d at 178 (quoting
Pocahontas Supreme Coal Co. v. Bethlehem Steel Corp., 828 F.2d 211, 218
(4th Cir. 1987) ); accord Supermarket of Marlinton, Inc. vy. Meadow Gold
Dairies, Inc., 71 F.3d 119, 122 (4th Cir. 1995) (holding that to prove
fraudulent concealment the plaintiff must demonstrate that the defendant
“fraudulently concealed facts that are the basis of the plaintiff’s claim’’
(emphasis added) ). Thus, a plaintiff is on actual notice if it has “sufficient
facts to identify a particular cause of action.” Hobson v. Wilson, 737
F.2d 1, 35 (D.C. Cir. 1984), overruled in part on other grounds by
Leatherman v. Tarrant Cty. Narcotics Intelligence & Coordination Unit,
507 U.S. 163, 113 S.Ct. 1160, 122 L.Ed.2d 517 (1993). Mere “hints,
suspicions, hunches or rumors” are not enough to put a plaintiff on
actual notice. Hobson, 737 F.2d at 35. Instead, the plaintiff must be able to
plead the factual allegations necessary to withstand a motion to dismiss,
including “both the injury that g[ave] rise to [its] claim and the injurer.” Jay
E. Hayden Found. v. First Neighbor Bank, N.A., 610 F.3d 382, 386 (7th
Cir. 2010).

* ok Ob
[112] Actual notice” means notice of sufficient facts, “which are the basis
of a claim,” Go Comput., 508 F.3d at 178, including identification of the
injury, the injurer, and the type of injury

* OK OR
[155-166] For more than 40 years, this Court has been unwavering in our
articulation of what actual notice requires: awareness of sufficient facts
to state a claim. See Go Comput., Inc. v. Microsoft Corp., 508 F.3d 170,
178 (4th Cir. 2007) (explaining that antitrust plaintiff may not invoke
fraudulent concealment if he has discovered “facts which are the basis of
a claim”); Supermarket of Marlinton, Inc. v. Meadow Gold Dairies, Inc.,
71 F.3d 119, 122 (4th Cir. 1995) (“facts that are the basis of the
plaintiff’s claim’); *116 Pocahontas Supreme Coal Co. v. Bethlehem
Steel, 828 F.2d 211, 218 (4th Cir. 1987) (“facts which are the basis of a
claim”); Charlotte Telecasters, Inc. v. Jefferson—Pilot Corp., 546 F.2d 570,
574 (4th Cir. 1976) (“facts which are the basis of his cause of action’’).

It is axiomatic that the “facts which are the basis of a claim” or “cause of
action” are those which enable a party to bring a valid suit. See Cause of
Action, Black’s Law Dictionary (10th ed. 2014) (“A group of operative

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facts giving rise to one or more bases for suing; a factual situation that
entitles one person to obtain a remedy in court from another person.”
(emphasis added) ). Thus, as the majority opinion correctly explains, for a
plaintiff to be on actual notice, it “must be able to plead the factual
allegations necessary to withstand a motion to dismiss.” Ante at 109.

This rule is consistent with the approach taken by our sister circuits. See,
e.g., Jay E. Hayden Found. vy. First Neighbor Bank, N.A., 610 F.3d 382,
385 (7th Cir. 2010) (“A defendant who prevents a plaintiff from obtaining
information that he needs in order to be able to file a complaint that will
withstand dismissal is forbidden ... to plead the statute of limitations for
the period in which the inquiry was thwarted.” (emphasis added) ); Conmar
Corp. v. Mitsui & Co., 858 F.2d 499, 504 (9th Cir. 1988) (holding that
actual notice requires “knowledge [that] would ... justify the filing of a
complaint”); Hobson vy. Wilson, 737 F.2d 1, 35 (D.C. Cir. 1984) (holding
that actual notice requires “awareness of sufficient facts to identify a
particular cause of action” and “‘to file suit”), overruled in part on other
grounds by Leatherman v. Tarrant Cty. Narcotics Intelligence &

Coordination Unit, 507 U.S. 163 (1993).

And this long-standing and widely embraced rule—that a plaintiff is on
actual notice only when it is aware of sufficient facts to state a claim
that withstands a motion to dismiss—balances the interests served by the
fraudulent concealment doctrine: obliging plaintiffs to file suit in a timely
fashion once they are aware, or should be aware, of facts sufficient to state
a claim that can withstand a motion to dismiss, while preventing
wrongdoers from avoiding liability by concealing their wrongdoing. See
Marlinton, 71 F.3d at 122 (“The purpose of the fraudulent concealment
tolling doctrine is to prevent a defendant from concealing a fraud, or ...
committing a fraud in a manner that concealed itself until the defendant
could plead the statute of limitations to protect it.” (internal quotation
marks omitted) ). To that end, any rule that would treat a plaintiff as being
on actual notice under a standard more favorable to defendants—in
situations when the plaintiff lacks knowledges of sufficient facts to state a
claim that would withstand dismissal—would wrongly “creatfe] the
anomalous situation of requiring persons to file suit on a hunch, only to be
dismissed for failure to state a claim.” Hobson, 737 F.2d at 39 (emphasis
added). As the majority opinion correctly states, “[mJere ‘hints, suspicions,
hunches or rumors’ are not enough to put a plaintiff on actual notice.” Ante
at 109 (quoting Hobson, 737 F.2d at 35). Accordingly, a plaintiff is on
actual notice when it knows of “enough factual information from which
[it] could plead [its] cause of action for Rule 12(b)(6) purposes.” /d. at 112.

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9. In Perry v. O’Donnel, 749 F.2d 1346 (9" Circuit 1984) “[A]ctual notice means
that that which a person actually knows or could discover by making a reasonable
investigation. See United States v. Certain Parcels of Land, 85 F.Supp. at 1002 n. 13.”

10. In United States v. Certain Parcels of Land Situate in San Bernardino County,
85 F.Supp 986, 1002 FN13 (9" Cir. 1949), to wit:

FN13 In Burdine v. White, 173 Ky. 158, 190 S.W. 687, 689 (Ct.App.Ky.

1917); it is said that notice is actual, constructive, implied and presumptive,

while actual notice is susceptible of subdivisions such as information which

of itself gives actual notification and that which, if prosecuted with ordinary

diligence, would furnish information of the fact. Notice is actual or

constructive. Actual notice is that which consists in express information

of a fact, and constructive notice is that which is implied by law. Prouty

v. Davin, 50 P. 380, 381 (Sup.Ct.Ca. 1897).
G. Civil Commissions in Alaska for Judges and Justices—A Bona Fide One

1. A bona fide Civil Commission is mandated to be issued if appointed by the
Governor of Alaska in compliance with Article IV Section 5+ and ©AS 39.05.035°. A
copy of a bona fide Civil Commission is evidenced by Attachment 1—Civil

Commission (“Attach 1—Civil Commission’’).

 

4 SECTION 5. NOMINATION AND APPOINTMENT. The governor shall fill any
vacancy in an office of supreme court justice or superior court judge by appointing one
of two or more persons nominated by the judicial council.

> © AS Sec. 39.05.035 Commission of office. After each appointment of a state officer,
the governor shall execute a commission, which states that the person to whom it is
issued is appointed and sets out the office to and the term for which the officer is
appointed. The attorney general shall prescribe the form of the commission. (8 11-1-5
ACLA 1949) Revisor's notes. -- Formerly AS 39.05.120. Renumbered in 1984.

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a. There are NO “Civil Commissions” in the Judicial Branch (sic) of the
STATE OF ALASKA.

1. As Evidenced by the this Letter being Attachment 2—There Are No Civil
Commissions Per FOIA and Response in the Letter for Judges and Justices of the
Alaska Dated September 7, 2011 (“Attach 2—(1) No Civil Commissions Letter’’)
flows a fortiori that REIGH has no Civil Commission to exercise any “judicial Power of
Alaska,” with Alaska being one of the several States.

2. Confirmed in a second Letter dated July 16, 2012 that there are no Civil
Commissions for judges and justices evidenced by Attachment 3—There Are No Civil
Commissions Per FOIA and Response in the Letter for Judges and Justices Dated
July 16, 2012 (“Attach 3—(2) No Civil Commissions Letter’) ”) flows a fortiori that
REIGH has no Civil Commission to exercise any “judicial Power of Alaska,” with
Alaska being one of the several States.

H. Bogus “Appointment Letters’” From the Governor for Venessa White and Fred
Torrisi

1. In a Public Records Request Dated July 15, 2011 for All of the “Copies of all
Appointment Letters for all the current sitting judges and justice in Alaska” is the Letter
and an example of just two being Vanessa White (Palmer Superior Court Judge (sic)
(“White”) and Fred Torissi (Dillingham Superior Court Judge (sic) (“Torrisi”) evidenced
by Attachment 4—Vanessa White and Fred Torrisi Appointment Letter (“Attach 4—
—Appointment Letters.”

2. Take judicial Notice that these two examples in Attach 4—Appointment
Letters state “I am pleased you have accepted the appointment,” i.e., is the unassailable

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fact that Governor Murkowski and Governor Knowles are ONLY congratulating White
and Torrisi therein flows a fortiori that these Appointment as mandated by Article IV
Section 5 and ©AS 39.05.035 are NOT Civil Commissions.

I. Oaths of Office as Public Officers of the State of Alaska

a. Definition of “Office” According to the Common Law of England of Giles
Jacobs Corrected by T.E. Tomlins in 1811.

1. T.E. Tomlins in 1811 Corrected and Enlarged the English Common Law “The
LAW-DICTIONARY: explaining the Rise, Progress, and the Present State, of the
English Law; Defining and Interpreting The Terms Or Words of Art; and
Comprising Copious Information on the Subjects of LAW, TRADE, AND
GOVERNMENT Originally Compiled by Giles Jacob; Corrected and Greatly
Enlarged, by T.E. Tomlins, of the Inner Temple, Barrister at Law—The first
American from the second London edition” (“English Common Law—Tomlins’”)
adapted to the several States in the Union of States.

3. The several States of the Union of States have adopted the English Common
Law with modifications for America as a Rule of Law.

4. As evidenced in excerpt Attachment 5—English Common Law—Tomlins
Definition of Office (Attach 5—English Common Law—Office’’), with just a couple
of examples of the GREAT importance of “Office,”, to wit:

[Pg. 2] It is said, that the word officium principally implies a duty, and in

the next place the charge of such duty; and that it is a rule, that where one

man hath to do with the another’s affairs against his will, and without
his leave, that this is an Office, and he who is in it is an officer.

[Pg, 7] It is laid down in general, that if an officer acts contrary to the

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nature and duty of his Office, or if he refused to act at all, that in these
cases the Office is forfeited.

[Pg, 8] As to refusal, he says, that in all cases where an officer is bound

upon request to exercise his Office, if he does not do it upon request, he
forfeits it.”

[Pg. 9] All officers are punishable for corruption and oppressive
proceedings, according to the nature of the offence, either by indictment,

attachment, action at the suit of the party injured, loss of their Office.
5. Gladden filed in the ONLY remedy available in the Courts of Alaska

requesting that REIGH “act” as a bona fide “public Officer” in the “Superior Court of
Alaska” in the “Third District” even though RIEGH is merely a Black Robed Alaska
Bar Member with her ONLY allegiance to the Alaska Bar.

6. Gladden gave REIGH “Actual Notice” several times during the CON of the
very first Complaint and subsequent filing in the “alleged” Bench Trial of REIGH’s
“clear absence of all jurisdiction,” but she just proceeded unchanged and did not recuse
herself either.

b. Oath of Office for all Public Officers of the of the several States.

1. Jurisdiction arises under | Stat. 1 (1789) as the very first Statue of the United
States mandates with this unambiguous statue limited to only public Officers of the
“several States” to hold public Office as evidenced by this excerpt being “all executive
and judicial offers of the several States” .. . “before they proceed to execute their
duties of their respective offices, take the foregoing oath or affirmation” and “shall
cause a record or certificate thereof to be made . . . or they shall be directed to record
and certify the oath” as evidenced Attachment 6—1 Stat. 1—An Act to regulate the

Time and manner of administering certain Oath” (“Attach 6—Oaths”), to wit:

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And the members of the several State legislatures, and all executive and
judicial officers of the several States, who shall be chosen or appointed
after the said first day of August, shall, before they proceed to execute the
duties of their respective offices, take the foregoing oath or affirmation,
which shall be administered by the person or persons, who by the law of the
State shall be authorized to administer the oath of office; and the person or
persons so administering the oath hereby required to be taken, shall cause a
record or certificate thereof to be made, in the same manner, as, by the
law_of the State, he or they shall be directed to record or certify the
oath of office.

c. Bogus “Oaths” of the Judges and Justices in Alaska.

1. All of the judges and justices in Alaska® are impersonating being a “public
Officer” exercising the “judicial Power of Alaska” and NONE of the judges and justices
have the forty-one (“41”) words that are in quotation marks as an “Oath of Office as a
public Officer” in the public record as found in the “Constitution for’ the State of
Alaska” in Article XII Section 5, to wit:

SECTION 5. OATH OF OFFICE. All public officers, before entering

upon the duties of their offices, shall take and subscribe to the following

oath or affirmation: ''I do solemnly swear (or affirm) that I will support

and defend the Constitution of the United States and the Constitution

of the State of Alaska, and that I will faithfully discharge my duties as .

....... to the best of my ability." The legislature may prescribe further

oaths or affirmations.

And, also required for all “superior court judges” is the “‘oath of office required by

all officers under the constitution [Article XII Section 5] in ©AS § 22.10.110—“Each

superior court judge, upon entering office, shall take and subscribe to an oath of office

 

® Ralph Kermit Winterrowd 2™ has all of the “Oaths” of the judges and justices until a couple of
years ago but now no one will provide documents with a FOIA for the current imposters.

’ Preamble—We the people of Alaska, grateful to God and to those who founded our nation and
pioneered this great land, in order to secure and transmit to succeeding generations our heritage
of political, civil, and religious liberty within the Union of States, do ordain and establish this
constitution for the State of Alaska

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required of all officers under the constitution and any further oath or affirmation as
may be prescribed by law.

2. Venessa White [Palmer judge (sic)] only has an “Employee Affidavit”
admitting therein that “White” is merely just a lowly “court employee” evidenced by
Attachment 7—Employee Affidavit of Venessa White (“Attach 7—White Employee
Affidavit”), wherein also within the Attach 7—White Employee Affidavit there had
been requested if any other “Oath” existed as the first FOIA only produced the
“Employee Affidavit and then in Attach 7—White Employee Affidavit in the reply was
“Judge Vanessa White has not signed a new Oath of Office” therein flows a fortiori
that “Judge Vanessa White’s” only public record “Oath.”

3. And therein flows a fortiori that “Judge Vanessa White” of the unassailable fact
that she is merely a “court employee” as admitted under her signature remembering that
the forty-one (41) are exactly correct evidenced by Attach 7—White Employee
Affidavit.

4. Vanessa White does not have an “Oath of Office” as a public officer as
mandated by Article XII Section 5 and ©AS § 22.10.110 in the public record as July 16,
2012 evidenced by Attach 7—White Employee Affidavit.

5. As REIGH has the exactly the same “title” (sic) in Dillingham as Vanessa
White does in Palmer therein flows a fortiori that REIGH has an “Employee Affidavit”

and is also just merely a “court employee.”

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6. As REIGH has the exactly the same “title” (sic) in Dillingham as Vanessa
White’s “title” in Palmer therein flows a fortiori that REIGH does not have an “Oath of
Office” as a public Officer as mandated by Article XII Section 5 and ©AS § 22.10.110.

7. Ralph Kermit Winterrowd 2™ has the employee affidavits of most of the judges
pre-2012 which can be provided if requested but every judge and justice when copying
and inspecting them at the Anchorage House with Steve Collier (he was a Notary Public
so many are notarized) all had Employee Affidavits but many did not have the bogus
“Oaths of Office.”

8. A sample of the Alaska “Employee Affidavit” is evidenced in Attachment 8—
—Employee Affidavit Sample (“Attach 8—Employee Affidavit Sample’’), and take
Notice that all of the forty-one (41) word of Article XII Section 5 are exactly correct.

FIRST CAUSE OF ACTION

The Plaintiff repleads the facts and allegations contained in Sections I, II and III
and all subsections that REIGH did proceed in the Instant Case of David Gary Gladden
v. JAMES HENRY BINGMAN, SR., 3DI-18-0002CI (“Superior Court of Alaska” “Third
District” Dillingham, Alaska) with a “clear absence of all jurisdiction,”

SECOND CAUSE OF ACTION

The Plaintiff repleads the facts and allegations of the First Cause of Actions that
REIGH did preside of an Alaska Bar Administrative District knows as “Third Judicial
District” instead of the “Third District” established by the Legislature of the State of

Alaska in 1959.

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THIRD CAUSE OF ACTION

The Plaintiff repleads the facts and allegations of the Second Cause of Actions that
REIGH did preside of an Alaska Bar Administrative Court knows as “IN THE
SUPERIOR COURT FOR THE STATE OF ALASKA” instead of the “Superior Court of
the State of Alaska” established by the Legislature of the State of Alaska in 1959.

FOURTH CAUSE OF ACTION

The Plaintiff repleads the facts and allegations of the Third Cause of Actions that
REIGH did preside of an Alaska Bar Administrative Court as merely an “undersigned
jurist.

FIFTH CAUSE OF ACTION

The Plaintiff repleads the facts and allegations of the Fourth Cause of Actions that
REIGH did preside over an Alaska Bar Administrative Court with No “Oath of Office as
a public Officer” in the public record.

SIXTH CAUSE OF ACTION

The Plaintiff repleads the facts and allegations of the Fifth Cause of Actions that
REIGH did preside over an Alaska Bar Administrative Court having never been
appointed by the Governor of Alaska with a bona fide “Civil Commission” as mandated
by both statute of Alaska and the Constitution of Alaska.

SIXTH CAUSE OF ACTION

The Plaintiff repleads the facts and allegations of the Sixth Cause of Actions that
REIGH did preside over an Alaska Bar Administrative Court being “Actual Notice”

more that once, ignoring all “Actual Notices.”

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DAMAGES
WHEREFORE, the Plaintiff seeks damages as follows from REIGH for her

proceeding forward against with a “clear absence of all jurisdiction” in Case 3DI-

18-00002CI in Dillingham, Alaska:

A) Actual damages of $22,704.60 to date minus interest and other fees.

B) General damages in the amount to be determined later; and,

C) Compensatory Damages in the amount to be determined later; and,

D) Special Damages in the form of filing fees, mailing, and process fees; and,
E) Punitive Damages in the sum of two million dollars and to be adjusted by

jury of my peers being “citizens of Alaska” or by a bona fide Article III
Judge of the United States” if a Bench Trial for the intentional, willful, and
malicious actions against Gladden in “clear absence of all jurisdiction” and

damage to the reputation of Gladden future work on Airplanes by REIGH;

and,
F) All other just relief as the Court may deem appropriate.
My Hand,
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